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I. INTRODUCTION

 

UNITED STATES DISTRICT COURT

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Lawyers for Intervenor-Defendant the Coalitionfor the Protection of Marriage

DISTRICT OF NEVADA
BEVERLY SEVCIK et al., ) Case No.: 2:12-cv-00578-RCJ-PAL
)
Plaintiffs, ) THE COALITION’S RESPONSE BRIEF
vs. ) RE:
) PLAINTIFFS’ MOTION FOR
BRIAN SANDOVAL, etc., et al., ) SUMMARY JUDGMENT
)
Defendants, )
)

In both the Coalition’s filings in support of its motion to intervene, D.I. 30, and in its
motion for summary judgment, D.I. 72 (“Coalition’s Opening Brief”), the Coalition
demonstrated society’s and hence Nevada’s powerful reasons for perpetuating the man-woman
marriage institution Genderless marriage proponents cannot negate those bases supporting the

Marriage Amendment. At most, they can create a genuine debate as to the validity of only a few.

 

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Under settled equal protection jurisprudence, this means that man-woman marriage readily
withstands constitutional attack. Although the plaintiffs have been fully aware all along of the
details of the Coalition’s social institutional argument for man-woman marriage, their motion for
summary judgment and supporting memorandum, D.I. 86 (“Plaintiffs’ Opening Brief”), fails to
negate that argument’s many, independently adequate bases for perpetuating man-woman
marriage.

Antecedent to that failure, however, is the plaintiffs’ insistence that this Court apply some
level of heightened scrutiny to their claims, even though numerous Ninth Circuit cases have
plainly called for rational-basis review of claims of sexual orientation discrimination and no
Ninth Circuit decision holds otherwise. Their sex discrimination claim is baseless, and similar
claims have been found to be so in well-reasoned case aRer well-reasoned case. Further, the
social goods provided by the institutionalized man-woman meaning are so valuable and so vital
to society that the meaning can withstand all constitutional attacks no matter what level of
judicial scrutiny is deployed.

II. ARGUMENT
A. This Court should apply rational-basis review.

Multiple Ninth Circuit cases apply rational-basis review to claims of sexual orientation
discrimination See, e.g., High Tech Gays v. Def Indus. Sec. Clearance Offz`ce, 895 F.2d 563,
573-74 (9th Cir.1990); Witt v. Dep ’t of Air Force, 527 F.3d 806, 821 (9th Cir. 2008). None
applies heightened scrutiny. Clearly, neither this Court nor a three-judge panel of the Ninth
Circuit can change that settled circuit law. Such a change can happen only by way of circuit en
banc review or a Supreme Court decision.

We are bound by the decisions in [two earlier Ninth Circuit published opinions].
There has been no change in the relevant statutes or regulations, nor in any

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governing authority, notably an intervening decision of the Supreme Court.

Absent such a change, only an en banc panel of our court may overrule or revise

the binding precedent established by a published opinion.

United States v. Ramos-Medina, 682 F.3d 852, 857-58 (9th Cir. 2012). Just as a three-judge
circuit panel is not free to disregard earlier Ninth Circuit precedent, neither is this Court.

Yet the plaintiffs insist that this Court first should disregard the multiple Ninth Circuit
published opinions calling for rational-basis review and then make a change in the law by
applying some level of heightened scrutiny. Plaintiffs’ Opening Brief at 14-19. As authority, the
plaintiffs point to three district court decisions (two within the Ninth Circuit), one bankruptcy
court decision, and President Obama and Attorney General Holder. Id. at 15. Such “authority”
does not override binding Ninth Circuit authority. Accordingly, the plaintiffs’ additional

arguments as to why the level of scrutiny should be heightened clearly are misdirected when

made to this Court.l

 

l ln addition, those arguments are simply wrong. See, e.g., Jackson v.Abercrombie, 2012 WL

3255201, at *27-29 (D. Haw. Aug. 8, 2012) (rejecting the same arguments advanced by plaintiffs
here); Conaway v. Deane, 932 A.2d 571, 614 (Md. 2007); Kenji Yoshino, T he New Equal
Protection, 124 HARV. L. REV. 747, 756-57 (2011) (“All classifications based on other
characteristics _ including age, disability, and sexual orientation - currently receive rational
basis review. Litigants still argue that new classifications should receive heightened scrutiny. Yet
these attempts have an increasingly antiquated air in federal constitutional litigation, as the last
classification accorded heightened scrutiny by the Supreme Court was that based on nonmarital
parentage in 1977. At least with respect to federal equal protection jurisprudence, this canon has
closed.” (emphasis added)); Janet E. Halley, Sexual Orientation and the Politics of Biology: A
Critique of the Argument from Immutability, 46 STAN. L. REV. 503, 567-68 (1994) (“Even worse,
when the . . . argument from immutability annexes recent scientific findings to bolster its
empirical claim that homosexual orientation is immutable, it becomes simply incoherent .....
[T]here is as yet no proof that human sexual orientation has a biological cause; and even if a
biological cause of human sexual orientation were eventually identified, the conceptually distinct
question whether it causes homosexuality and heterosexuality would remain outstanding.”);
Appendix in Support of the Coalition’s Motion for Summary Judgment (hereinaiter “Appl”) T48
and T52 (recent powerful examples of political clout; see also William C. Duncan, Problems of
Classincation, 4 LIBERTY U.L. REv. 465 (2009).

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The plaintiffs also wrongly argue that the man-woman meaning in marriage constitutes
sex discrimination, which does require heightened scrutiny. That meaning does not constitute
sex discrimination because it treats men and women equally. See, e.g., Jackson v. Abercrombie,
2012 WL 3255201, at *27 (D. Haw. Aug. 8, 2012); Smelt v. County ofOrange, 374 F. Supp. 2d
861, 876-77 (C.D. Cal. 2005); Wilson v. Ake, 354 F. Supp. 2d 1298, 1307-08 (M.D. Fla. 2005).

Because this case involves neither a “fundamental right” nor a “suspect” classification, it
“falls directly within the scope of [Supreme Court] precedents holding such a law
constitutionally valid if ‘there is a plausible policy reason for the classification, the legislative
facts on which the classification is apparently based rationally may have been considered to be
true by the governmental decisionmaker, and the relationship of the classification to its goal is
not so attenuated as to render the distinction arbitrary or irrational.”’ Armour v. City of
Indianapolis, Ind., _U.S. _, 132 S. Ct. 2073, 2080 (2012). “And it falls within the scope of
[Supreme Court] precedents holding that there is such a plausible reason if ‘there is any
reasonably conceivable state of facts that could provide a rational basis for the classification.”’
Id.

Finally, even application of a heightened level of scrutiny will avail the plaintiffs nothing.
As demonstrated by the social institutional argument for man-woman marriage, perpetuation of
the man-woman marriage institution materially advances compelling societal and hence

governmental interests and does so in the only way possible.2

 

2 The only two alternatives reasonably available to Nevada are man-woman marriage and
genderless marriage. The latter is inimical to the valuable social goods materially and even
uniquely provided by the forrner. Those social goods unquestionably qualify as compelling
governmental interests. See Coalition’s Opening Brief at 12 & nn. 16-18.

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B. The plaintiffs’ personal interests are not relevant in determining the adequacy of
governmental interests under rational-basis review.

The plaintiffs acknowledge that the “central question” for this Court is whether the man-
woman limitation in marriage is “supported by adequate governmental interests.” Plaintiffs’
Opening Brief at 14. To answer that question rationally requires attention to the societal interests
at stake. Yet the plaintiffs continually seek to divert attention away from those societal interests
and toward the personal interests of same-sex couples in general and their own interests in
particular, doing so with multiple pages describing the unhappiness, indignities, and difficulties
they feel because they cannot marry. E.g., Plaintiffs’ Opening Brief at 4, 7-8, 13. The plaintiffs
appear to be arguing that the greater the difficulties for same-sex couples, the more rigorous the
test that the man-woman meaning must pass to be held constitutional. But that is certainly not
the law. The Supreme Court has made clear that, in the absence of a claim of deprivation of a
fundamental right (and there is no such claim here), the fact and extent that a law disadvantages a
particular group does not alter the rational-basis test. See, e.g., Romer v. Evans, 517 U.S. 620,
632-33 (1996) (“In the ordinary case, a law will be sustained if it can be said to advance a
legitimate government interest, even if the law seems unwise or works to the disadvantage of a
particular group, or if the rationale for it seems tenuous.”) (emphasis added); United States
Railroaa' Retirement Board v. Fritz, 449 U.S. 166, 175-76 (1980) (as long as “the classification
has some ‘reasonable basis,’ it does not offend the Constitution simply because . . . in practice it
results in some inequality” and the rational-basis test does not change - in theory or application -
just because the classification “would undoubtedly seem inequitable to some members of a
class . . . .”) (citations omitted). Accordingly, the constitutionality of the man-woman meaning is
not determined at all by the rhetoric used to describe the plaintiffs’ difficulties or the relative

strength of their sense of mistreatment and indignity. The test is whether any reasonably

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conceivable state of facts could provide a rational basis for that meaning. The only way to
answer that question sensibly is to focus on the societal interests at stake in the man-woman
meaning’s perpetuation. The plaintiffs’ personal interests are simply irrelevant to the task of
answering the “central question” and thus should not be allowed to distract from, confuse, or
distort the well-established constitutional standard.

C. The Plaintiffs’ arguments are all premised on a materially incomplete description of
contemporary American marriage.

The plaintiffs and their experts premise their legal arguments on a conception of marriage
that portrays it as a private relationship between two people, the primary purpose of which is to
satisfy the adults who enter it (the “close personal relationship model” or “pure relationship
model”). In that light, marriage is really about the couple.3 This narrow description is based on
the view that our society has moved “from a marriage culture to a culture that celebrates ‘pure
relationship,”’ in which marriage is understood as a relationship “that has been stripped of any
goal beyond the intrinsic emotional, psychological, or sexual satisfaction which the relationship
currently brings to the [two adult] individuals involved.”4 The plaintiffs’ narrow view of
marriage depicts an adult-centered “partnership entered into for its own sake, which lasts only as
long as both partners are satisfied with the rewards (mostly intimacy and love) that they get from

it.”5 Genderless marriage proponents depict marriage only as “a deeply personal commitment to

 

3 See, e.g., INSTITUTE FoR AMERICAN VALUES (DAN CERE, PRiNCIPAL INvEsTIGAToR), THE
FUTURE oF FAMILY LAw: LAw AND THE MARRIAGE CRISIS IN NoRTH AMERICA 15-16 (2005)
(available at Appl T7 pp149-50); Monte Neil Stewart, Marriage Facts, 31 HARV. J.L. & PUB.
POL’Y 313, 329-37 (2008) (“Marriage Facts”).

4 INSTITUTE oF AMERICAN VALUES, FUTURE oF FAMILY LAW, supra note 3, at 16 (available at
Appl T7 pl50).

5 Andrew J. Cherlin, T he Deinstitutionalization of American Marriage, 66 J. MARRIAGE & FAM.
848, 853, 858 (2004) (reporting both that the “pure relationship is not tied . . . to the desire to
raise children” and that scholarly “attempts to incorporate children into the pure relationship are
unconvincing”).

 

 

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another human being and a highly public celebration of the ideals of mutuality, companionship,
intimacy, fidelity, and family”; “it is the exclusive and permanent commitment of the marriage
partners to one another . . . that is the sine qua non of civil marriage.” Goodridge v. Dep ’t of
Pub. Health, 798 N.E.2d 941, 954, 961 (Mass. 2003). Under this pure relationship model,
marriage’s social goods are “love and friendship, security for adults and their children, economic
protection, and public affirmation of commitment.”6

As explained in our opening brief, marriage is a social institution much broader and
richer in meaning than the narrow view the plaintiffs and their experts portray. Conceived in its
fullness as a social institution, marriage encompasses most of what the close personal
relationship model describes but also much more. For example, while marriage certainly
provides “love and friendship, security for adults and their children, economic protection, and
public affirmation of commitment” and the ideal of “a partnership of equals with equal rights,
who have mutually joined to fonn a new family unit, founded upon shared intimacy and mutual
financial and emotional support,” it also provides the following additional social goods to which
the plaintiffs’ adult-centered conception is blind: the most effective (or only) means of
supporting the child’s bonding interest and the concept of natural parenthood; maximizing the
private welfare provided to the children conceived by heterosexual intercourse; sustaining the
optimal child-tearing mode (married mother and father); bridging the male-female divide; and
furnishing the statuses and identities of husband and wife. See Coalition’s Opening Brief at 8-
26. We refer hereafter to these additional meanings, practices, and goods as the “Additional

Marriage Goods.”

Plaintiffs’ legal argument for genderless marriage founders because it rests on a view of

 

6 LINDA C. McCLArN, THE PLACE oF FAMILIES: FosTERING CAPACITY, EQUALITY, AND
REsPoNslBILITY 6 (2006).

 

 

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marriage that is radically incomplete. Marriage, as commonly understood and lived by
Nevadans, is more than the close personal relationship model the plaintiffs advance. As fully
demonstrated in our opening brief, marriage is a rich social institution with duties and
relationships that transcend the couple; among other important features, marriage continues to be
a child-protective and child-centered institution, aimed at protecting, nurturing and rearing
children.

The testimony of plaintiffs’ expert on contemporary American marriage, Nancy Cott,
fails to rebut the concept that marriage is a social institution much broader than the adult-
centered partnership the plaintiffs describe. D.I. 86-2 at 3-377 (“Cott”). Although Cott lists
aspects of marriage common to both the narrow and the broad descriptions, she does not aver
that contemporary marriage is limited to those aspects or that the Additional Marriage Goods are
factually false. This is particularly telling because the Additional Marriage Goods were set forth
in considerable detail in both our opening brief and other relevant literature before Cott prepared
her declaration. Furthermore, although Cott states that marriage is an evolving and changing
institution, she does not assert that the changes have eliminated the Additional Marriage Goods.
Her statements only set forth now-abandoned institutional meanings and practices other than the
Additional Marriage Goods. The most that Cott says regarding the validity of the Additional
Marriage Goods is that the “exclusion of same-sex couples from equal marriage rights stands at
odds with the direction of historical change in marriage in the United States.”8 That statement

carefully avoids saying that the “historical change” has overtaken and eliminated the Additional

 

7 We use the clerk-imprinted pagination at the top of the pages whenever referring to the
Appendix to Plaintiffs’ Opening Brief.
8 cort at 7, 24.

 

 

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Marriage Goods. The Additional Marriage Goods are continuing, valuable, and important
components of contemporary American marriage.

Finally, Cott’s attempted challenge to the man-woman marriage institution as the
provider of the optimal child-tearing mode actually reaffirms that social good’s continuing
validity. Cott says: “The notion that the main purpose of marriage is to provide an ideal or
optimal context for raising children was never the prime mover in states’ structuring of the

marriage institution in the United States, and it cannot be isolated as the main reason for the

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state’s interest in marriage today. Note the careful limitation to “main purpose,” “prime
mover,” and “main reason.” Cott does not deny that perpetuating the optimal child-tearing mode
(by perpetuating the man-woman marriage institution) continues as an important, even
compelling, societal interest. Any quibble over whether it is the “main” or “prime” interest at
stake is irrelevant to this Court’s constitutional analysis; what is relevant is that the interest is
real, valuable and enduring.

In a further effort to evade that relevant and valuable interest (and to bolster the narrow
description of marriage at the expense of the child-centered broad description), the plaintiffs
argue that the bearing and rearing of children are at best tangential to the marriage institution’s
roles and purposes - as evidenced by the fact that society does not screen out of marriage man-
woman couples who are infertile by nature or choice. Opposing Brief at pp. 25-26. This
argument ignores the biological facts and the social realities flowing from them. Man-woman
sexual relations are intrinsically procreative; the human species is a two-sex species exactly for

the purpose of procreation; and no other human relationship _ whether a same-sex sexual

relationship or a cooperative but platonic relationship - is intrinsically procreative. The

 

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plaintiffs’ argument further provides no good answer to the demonstrations of society’s good
sense in refusing to undertake such a “screening out” endeavor,10 The argument that same-sex
couples can be “procreative” too through artificial reproductive technologies does not bolster the
plaintiffs’ cause. This argument actually underscores how genderless marriage destroys the
child’s interest in bonding with its biological parents, which, in turn, highlights the
reasonableness of society’s endeavor, through perpetuation of the essential man-woman marriage
institution, to perpetuate that bonding interest and the closely related interests in natural
parenthood held by the state, natural parents, and children.

Because all the plaintiffs’ arguments are premised on a conception of marriage that is
radically incomplete, they fail to come to grips with the actual interests served by marriage as a
social institution. Consequently, plaintiffs’ constitutional challenge fails by leaving unrebutted
multiple rational grounds and compelling interests supporting the man-woman meaning of
marriage

D. The plaintiffs fail to negate the rational bases pertaining to the man-woman marriage
institution’s vital role relative to children in our society.

Perpetuation of the man-woman marriage institution is vital to the long-term quality of
child-tearing and child-welfare in our society. Coalition’s Opening Brief at 9-24. Through its
core, constitutive meanings including the “union of a man and a woman,” that institution
transforms and prepares individuals to meet heightened obligations of care (in the broadest
sense) to the children that their passionate, heterosexual coupling bring into the world _ and then

sustains those adults in the fulfillment of their child-centered obligations. In this way, the man-

 

‘° see, e.g., Andersen v. long counzy, 138 P.3d 963, 983 (wash. 2006); Marrzson v. sadler, 821
N.E.2d 15, 27 (Ind. App. 2005); Monte Neil Stewart, Judicial Redefi`nition of Marriage, 21 CAN.
J. FAM. L. 11, 58-60 (2004) (“Judicial Redennz¢ion”).

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woman marriage institution materially and even uniquely protects the child’s bonding interest
and the concept of natural parenthood, maximizes the private welfare provided to the children
conceived by heterosexual intercourse, and sustains the optimal child-rearing mode (married
mother-father). In short, the man-woman marriage institution performs the large task of the
orderly reproduction of society.

The plaintiffs’ attempts to negate these social realities all fail. First, the plaintiffs focus
on only one of society’s two large child-welfare endeavors while ignoring the other one.
Because several of the unique social goods provided by the institutionalized man-woman
meaning focus on the welfare of children, man-woman marriage is a child-centered and child-
protective institution. Government efforts to preserve that institution, including the Marriage
Amendment, are therefore child welfare endeavors. But government also engages in another
child-welfare endeavor: providing public assistance in various forms (through protective laws,
access to resources, material resources themselves, and so on) to individual children or their
caregivers. These endeavors are different. The former entails the protection, sustenance, and
perpetuation of a social institution because that institution is good for children generally through
the generations; the latter entails the present provision to each child, regardless of the child’s
circumstances, of those resources that society deems minimally due to every child. By engaging
in both endeavors simultaneously, government attempts to maximize the well-being of all
children, both those now among us and those of future generations. However, the plaintiffs
ignore the first endeavor and its institutionally protective nature and attempt to paint the
Marriage Amendment as somehow hostile to or inconsistent with the second endeavor, which by
seeking to provide at least minimal resources to every child cultivates an ethos of government-

assured equality of circumstances for all children, The plaintiffs seek to persuade this Court that,

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for the sake of all children, it must mandate genderless marriage under the Fourteenth
Amendment. The social reality (and irony), however, is that genderless marriage is destructive
of the first child-welfare endeavor and its focus on the important interests of children across the
generations.

The plaintiffs’ also attack the idea that the married mother-father child-rearing mode, the
child-rearing mode uniquely provided by the man-woman marriage institution, is optimal. They
make this attack with three arguments, none of which negatives this rational basis for the
Maniage Amendment and only one of which even manages to create a plausible debate about it.

The plaintiffs argue that Nevada legislation addressing parental rights, especially the
Domestic Partnership Act (“DPA”), establishes a policy of equality for “the State’s full spectrum
of parental obligations and protections.” Plaintiffs’ Opening Brief at 26. This is in effect an
argument that the Nevada legislature has resolved the social science debate in favor of the “no
differences” studies. But that is erroneous. For one thing, providing a certain equality of
treatment for all parents - regardless of the family structure or mode in which they are raising
children - is not at all a policy judgment on the relative quality of those modes; at most it
expresses a judgment that performance of the parental task, regardless of the mode in which
undertaken, may be helped by a certain level of legal “obligations and protections.” By contrast,
the Marriage Amendment’s express reservation of marriage to man-woman couples is a policy
judgment by the people about which mode of parenting is optimal. For another thing, the
Maniage Amendment is of constitutional stature, while the legislation on which the plaintiffs
rely is not. If there is any conflict in the public policies articulated by the two, the public policy
emerging from the Marriage Amendment certainly trumps any public policy conjured out of the

legislation. Thus, because the Marriage Amendment preserves the man-woman meaning

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productive of the “gold standard” of child-rearing, its public policy of privileging that “gold
standard” must be the guiding public policy on this point and must be viewed as accepting the
social science conclusions in favor of married mother-father child-rearing as the optimal mode.ll
Plaintiffs also argue that “an undeniable consensus has emerged among the leading
authorities” and among various professional associations in favor of the “no differences”
conclusion. Plaintiffs’ Opening Brief at 27. But the plaintiffs are simply wrong. The studies
they point to as the basis for an alleged scientific “consensus” have been contested in credible
and responsible ways.12 In passing the Marriage Amendment, Nevada’s voters did not buy into
the touted “consensus,” as they had every constitutional right not to. Their choice was perfectly
reasonable, given that “the attempts at scientific study of the ramifications of raising children in
same-sex couple households are themselves in their infancy and have so far produced
inconclusive and conflicting results,” that “studies to date reveal that there are still some
observable differences between children raised by opposite-sex couples and children raised by
same-sex couples,” that “[i]nterpretation of the data gathered by those studies then becomes
clouded by the personal and political beliefs of the investigators,” and that “[t]his is hardly the
first time in history that the ostensible steel of the scientific method has melted and buckled

under the intense heat of political and religious passions.” Goodridge, 798 N.E.2d at 979-80

 

ll See, e.g., Armour, 132 S. Ct. at 2080 (it is sufficient that “the legislative facts on which the

classification is apparently based rationally may have been considered to be true by the
governmental decisionmaker”).

2 See, e.g., Mark Regnerus, How different are the adult children of parents who have same-sex
relationships? F indings from the New Family Structures Study, 41 SOC. SCI. RES. 752-70 (2012)
(available at Appl T33); Loren Marks, Same-sexparenting and children ’s outcomes: A closer
examination of the American psychological association ’s brief on lesbian and gay parenting, 41
SOC. SCI. RES. 735-51 (2012) (available at Appl T34).

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(Sosman, J., dissenting).13
Finally, the plaintiffs rely on expert witness Michael Lamb’s opinions that there are “no
differences” in outcomes between married mother-father child-fearing and same-sex couple
child-fearing and that there is “no empirical support for the notion that the presence of both male
and female role models in the home promotes children’s adjustment or well-being.” D.I. 86-3 at
61. For two powerful reasons, however, Lamb’s opinions fail to end the debate about the
rational bases related to child-rearing. First, although Lamb attempts to explain away scientific
studies reinforcing the view that married mother-father child-rearing is the unique “gold
standard” and demonstrating that the “no differences” studies are methodologically flawed, D.I.
86-3 at 67-71, the fact remains that the studies Lamb attacks are the work-product of social
scientists at least as qualified in their fields as he is and were published in respected peer-
reviewed journals. Second, and even more compelling, Lamb’s opinions given for this case are
contradicted and refuted by Lamb’s own body of work, including these Lamb statements:
0 “it is disturbing that there appears to have been a devaluation of the father’s role in
western society such that many children may suffer affective patemal deprivation.”
¢ “[b]oys growing up without fathers seem to have problems in the area of sex role and

gender identity development, school performance, psychosocial adjustment, and perhaps
in the control of aggression.”

0 “[b]oys growing up without fathers seem especially prone to exhibit problems in the
areas of sex role and gender identity development.”l

The collection of Lamb self-contradictions goes on and on, including such concessions as that

there are indeed differences between men and women that have implications for child

 

13 See also WILLIAM C. DUNCAN, MISPLACED RELIANCE oN SocIAL SCIENCE EVIDENCE IN THE
PROPOSITION 8 CASE, Vol. 5, No. 6, an Institute for Marriage and Public Policy Research Brief l-
4 (2012) (available at Appendix, Volume 2 Tab 54 pages 1332-35). Volume 2 (hereinafter
“App2”) is being filed simultaneously with this Response Brief; both its tabs and its Bates
numbers run consecutively from the tabs and Bates numbers in our Appendix in Support of the
Coalition’s Motion for Summary Judgment.

“‘ Id. at 2 (available at Appz T54 p1333).

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development. Those self-contradictions cannot be explained away on the basis of research
developments that arose since his earlier statements and the date of his declaration in this case.15
Lamb’s self-impeachment is so troubling as to lead to the fair observation that Lamb’s opinions
“are influenced by factors other than scientific research,” including a desire to promote a
particular ideology.16 At a minimum, his views cannot be relied on as the basis for overturning
the deeply rooted understanding of the people of Nevada_one developed over centuries of
experience in Western civilization_that being raised by one’s own parents in a stable, man-
woman marriage is best for children.

In short, the plaintiffs have failed to negate the adequate and independent rational basis
for the man-woman meaning found in that meaning’s provision of the optimal child-rearing
mode. Ironically, their brief confirms that there is a genuine debate on whether same-sex
parenting can meet that “gold standard.” lt follows that a straightforward application of rational-
basis review requires the Court to sustain the constitutionality of the Marriage Amendment on
this rational basis alone. See Minnesota v. Clover LeafCreamery Co., 449 U.S. 456, 464 (1981)
(“Although parties challenging legislation under the Equal Protection Clause may introduce
evidence supporting their claim that it is irrational, they cannot prevail so long as ‘it is evident
from all the considerations presented to [the legislature], and those of which we may take judicial
notice, that the question is at least debatable.’ Where there was evidence before the legislature

reasonably supporting the classification, litigants may not procure invalidation of the legislation

merely by tendering evidence in court that the legislature was mistaken.” (citations omitted)).

 

‘5 see ial at 2-3 (available at Appz T54 pl333-35).
‘6 lal. at 4 (available at Appz T54 pl335).

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E. The plaintiffs fail to negate the rational bases pertaining to the child’s bonding interest
and to the concept of natural parenthood.

The plaintiffs understandably are silent regarding the reality that a genderless marriage
regime is inimical to the child’s bonding interest and to the concept of natural parenthood.
Unquestionably, “same-sex marriage . . . unlink[s] child-parent biological bonds” and thereby
“raises . . . important issues [including] children’s right to know the identities of their biological
parents [and] children’s right to both a mother and a father, preferably their own biological
parents.”17

Moreover, a genderless marriage regime is inimical to the concept of natural parenthood.
See Coalition’s Opening Brief at 17-18. As such, it also is necessarily inimical to the concept of
the natural family as an institutional buffer between family members and the state and as the
situs of rights on which the state cannot impinge. Genderless marriage “is nothing more than a
legal construct. Its roots run no deeper than positive law. It therefore cannot present itself to the
state as the bearer of independent rights and responsibilities, as older or more basic than the state
itself. lndeed, it is a creature of the state . . . .”18 As a consequence, a genderless marriage
regime would “de-naturalize the family by rendering familial relationships, in their entirety,
expressions of law. But relationships of that sort - bled as they are of the stuff of social tradition

and experience - are no longer family relationships at all. They are rather policy relationships,

defined and im osed by the state.”19 The chilling consequence is that, by displacing man-woman
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17 Margaret Somerville, Children ’s Human Rights to Natural Biological Origins and Family
Structure, 1 INT’L J. JURISPRUDENCE FAM. 35, 36 (2010) (available at App2 T53 pl311).

18 Douglas Farrow, Why Fight Same-Sex Marriage?, TOUCHSTONE, Jan.-Feb. 2012 (available at
Appl T38 pp868-69).

19 F.C. DeCoste, Courting Leviathan: Limited Government and Social Freedom in Reference re
Same-Sex Marriage, 42 ALTA. L. REV. 1099, 1122 (2005) (available at App2 T59); F.C.
DeCoste, T he Halpern Transformation.' Same-Sex Marriage, Civil Society, and the Limits of
Liberal Law, 41 ALTA. L. REV. 619, 625-26 (2003) (available at App2 T58).

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marriage, genderless marriage would do away with the only institution that exists to support the
natural family and to affirm its independence from the state. A genderless marriage regime
would effectively turn every citizen’s most fundamental human connections into legal constructs

l.20 This reality qualifies as another rational basis for the Marriage

at the state’s gifi and disposa
Amendment, one that surely is compelling.

F. The plaintiffs fail to negate the rational basis pertaining to the valuable identities and
statuses of husband and wife.

The plaintiffs make two indirect arguments against the rational basis pertaining to the
identities and statuses of husband and wife. First, they suggest that the very consideration of the
identities and statuses of husband and wife is a form of invidious sexism and, apparently, that
man-woman marriage must therefore somehow be considered a form of sex discrimination
Second is the Peplau opinion that “[t]here is no scientific support for the notion that allowing
same-sex couples to marry would harm different-sex relationships or maniages.” Peplau at 49.

The “sexism” argument makes sense only to people who have accepted a particular
theory of gender advanced by radical social constructivists, a theory generally in opposition to its
essentialist rival.21 The very word gender is caught up in the dispute between the two positions.
Both the essentialist and the radical social constructivist acknowledge (each in her own way) the
biological differences between men and women and the reality of social influences in individual
development, including gender identity. But then the two theories diverge. Essentialism teaches
that gender is an essential characteristic of individual identity and that inherent, or natural,

differences between the sexes extend beyond mere differences in body parts to certain

 

20 See Farrow, supra note 18 (available at Appl T38 p869).

21 Regarding the information set forth in this paragraph, see generally D. Richardson, Sexuality
and Gel’lder, in INTERNATIONAL ENCYCLOPEDIA OF THE SOCIAL & BEHAVIORAL SCIENCES 14018-
21 (2001) (available at App2 T55 p1337-40).

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differences of co gnition and emotion that are expressed socially, and often differently from
culture to culture. Radical social constructionism holds that everything that our language codes
as male or female, masculine or feminine, and especially most everything that really matters for
human experience and growth, is socially and culturally constructed. Under this approach, a
sharp distinction is ofien made between sex or sexuality, on one hand, and gender, on the other,
with sex referring to the biological distinction between females and males, and gender referring
to “the social meanings and value attached to being female or male in any given society,
expressed in terms of the concepts femininity and masculinity.”22
Adherents to the radical social constructionist position see distinctions between male and
female attributes, desires and needs as socially constructed, as facilitative in nearly all cultures of
unequal power relationships, and as harmful to the individual’s fullest human development. To a
greater or lesser extent, they take it as their project to deconstruct the “gendered” differences
between men and women.23 Many of them wish to deconstruct marriage because they see it as
preserving the societal distinctions between men and women.24 Some of their deconstructive
strategies include advocating that law not make gender-based distinctions and that law redefine
civil marriage from a man-woman relationship to a person-person relationship. Genderless
marriage advocates attempt to use radical social constructionist conclusions because, they argue,
there is no defensible basis under equality jurisprudence for legally defining marriage as a man-
woman relationship rather than a person-person relationship if there are no differences between

men and women that matter (or should matter) in the eyes of the law.

In making the Marriage Amendment part of their constitution, Nevada’s voters declined

 

22 Id. at 14019 (available at App2 T55 p 1338).
23 See, e.g., JoNATHAN CULLER, LlTERARY THEORY: A VERY SHoRT INTRoDUCTloN 97-101
(1997); MONIQUE WITTIG, One Is Not Born a Woman, in THE STRAIGHT MIND (1992).

11 See, e.g., KATE MILLET, SEXUAL PoLlTlcs 33-36 (1977).

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to buy into the radical social constructivists’ theory of gender. Equally important, the United
States Supreme Court has declined to accept it. In United States v. Virginia, 518 U.S. 515
(1996), the Supreme Court found Virginia’s maintenance of an all-male military academy
violative of federal equality jurisprudence The State attempted to justify the school‘s exclusion
of women by reference to the extraordinarily rigorous nature of the school’s unique educational
experience, and thereby potentially raised a question regarding relevant inherent (or essential)
differences between men and women, For present purposes, this language from the Supreme
Court’s opinion is important:

“Inherent differences” between men and women, we have come to appreciate,

remain cause for celebration, but not for denigration of the members of either sex

or for artificial constraints on an individual’s opportunity. Sex classifications may

be used to . . . advance full development of the talent and capacities of our

Nation’s people, But such classifications may not be used, as they once were, to

create or perpetuate the legal, social, and economic inferiority of women.
Id. at 53 3-34 (citations omitted). The Court was true to this language. lt did not strike down the
exclusion of women from the school on the basis that there are no relevant “inherent differences”
for purposes of education law; rather, the Court avoided any assessment of the extent to which
women are biologically or socially different from men. The Court acted because Virginia
“use[d] women’s differences from men as a justification for prescribing gender roles in a way

”25 and, by so acting, the Court “avoid[ed] a claim that

that deprives women of equal opportunity,
equal treatment is necessarily required in all contexts.”26 lndeed, the Supreme Court gave due
deference to the biological facts that we referenced earlier: “Physical differences between men

and women, however, are enduring: ‘[T]he two sexes are not fungible; a community made up

exclusively of one [sex] is different from a community composed of both.”’ 518 U.S. at 533.

 

25 Cass Sunstein, Foreward.' Leaving Things Undecided, 110 HARV. L. REV. 4, 76 (1996).
26 Id.; see also Judicial Redefinition, supra note 10, at 85-99 (available at App2 T57).

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Because humankind is a two-sex species exactly for purposes of procreation, there is no identity
or status more closely tied to the enduring biological facts than husband and wife. To call those
statuses “sex-stereotyping,” as the plaintiffs do, is to ignore biological and social reality. lt is to
say that a woman can be a husband, but that simply cannot be absent a massive and Orwellian
governmental intervention in and interference with our language and hence our society’s
enduring social realities and institutions - because husband “is a distinct mode of association and
commitment that carries centuries and volumes of social and personal meaning.”27
In declining to accept the radical social constructivists’ theory of gender, the courts have
heeded Justice Holmes’s caution against the tendency of judges, consciously or unconsciously,
overtly or covertly, to read social theories into the constitution: “Otherwise a constitution,
instead of embodying only relatively fundamental rules of right, as generally understood by all
English-speaking communities, would become the partisan of a particular set of ethical or
economical opinions . . . .”28 Because the Fourteenth Amendment is not a partisan of radical

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social constructivism’s theory of gender, the plaintiffs sexism” argument fails.
The plaintiffs also rely on expert witness Letitia Anne Peplau’s opinion that “[t]here is no
scientific support for the notion that allowing same-sex couples to marry would harm different-
sex relationships or marriages. The facts that affect the quality, stability, and longevity of
different-sex relationships would not be affected by marriages between same-sex couples.” D.I.

86-2 at p. 49 (“Peplau”). This opinion evidences a large blind spot. Peplau ignores or is

ignorant of the teachings of the “new institutionalism” in the social sciences, which focus on the

 

37 RoNALD DwoRKIN, Is DEMOCRACY PosslBLE HERE? 86 (2006).

28 Otis v. Parker, 187 U.S. 606, 608-09 (1903). Even more pithy was his statement that the
Constitution did not “enact Mr. Herbert Spencer’s Social Statics,” a book embodying the social
Darwinism that gained considerable currency for awhile in American constitutional law. lt is
equally certain that the Constitution did not enact Ms. Judith Butler’s Gender Trouble. See
Richardson, supra note 21 , at 14018 (available at App2 T55 p1337).

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role of social institutions in shaping social behaviors through widely shared public meanings that
form and transform individuals in profound ways.29 Accordingly, she does not come to grips
with and certainly does not deny that marriage is a vital social institution; that like all
fundamental institutions, marriage is constituted by widely shared public meanings that form and
transform individuals in profound ways, providing them with identities, statuses, projects,
purposes, and norms; that the man-woman marriage institution is the sole provider in our society
of the statuses of husband and wife; that because it is, it enables and empowers men and women
to do and become what they could not do and become without the institution; that genderless
marriage is and must be inimical and hostile to the statuses of husband and wife; that the law has
the power to suppress the now-institutionalized man-woman meaning; and that when it does, the
valuable social goods inhering in the husband and wife statuses and identities will be diminished
over time and then lost.

Peplau’s blind spot regarding social institutional realities is evident in other ways. An
example is her reliance on divorce data from Massachusetts in the few years immediately before
and immediately after the 2004 inception of court-mandated genderless marriage there. Peplau
at 65-66. Her point is that the sky is not falling now that Massachusetts has a genderless
marriage regime. But the undeniable reality of institutional momentum clearly invalidates this
point. Something as massive and deep-rooted in our society and humanity as the man-woman

marriage institution, like a massive ocean-going ship, does not stop or turn in a short space or a

 

29 See generally THE NEW INsTlTUrloNALlsM rN ORGANIZATIONAL ANALYsls (Walter W.
Powell & Paul J. DiMaggio eds., 1991); Peter A. Hall & Rosemary C.R. Taylor, Political
Science and the Three New Institutionalisms, 44 POL. STUD. 936 (1996); Victor Nee, Sources of
the New Institationalism, in THE NEW INsTlTUTloNALlsM rN SocloLoGY 1 (Mary C. Brinton &
Victor Nee eds., 2001); see also Marriage, Fundamental Premises, and the California,
Connecticut, and Iowa Supreme Courts, 2012 BYU L. REV. 193, 204 (“Fundamental
Premises”).

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short time. With an institution as fundamental and deep-rooted as marriage, one must think in
terms of decades to observe the full effects of changes in the public meanings.

Neither with Peplau’s “opinion” nor in any other way do the plaintiffs counter the social
realities that a genderless marriage regime over time will diminish and then end the statuses and
identities of husband and wife with clear adverse consequences for husbands and wives and those
in the future who might want those enabling statuses and powers - if the new regime’s language
even allows those persons to comprehend them.

G. The plaintiffs fail to negate the rational basis pertaining to the religious liberties of a
large portion of Nevada’s citizens and churches.

A genderless marriage regime will adversely affect the religious liberties of a large
portion of both Nevada’s citizens and churches. For churches, the adverse impacts include
increased liability in private anti-discrimination lawsuits and a range of government penalties,
such as exclusion from government facilities, ineligibility for government contracts, and
withdrawal of tax exempt status; for individuals, they include government-authorized sanctions ~
either directly imposed by government or resulting from private anti-discrimination lawsuits -
for heeding conscience and declining to provide services connected to such activities as same-
sex couple weddings and lodging. Coalition’s Opening Brief at 26-27.

ln an effort to counter this rational basis, the plaintiffs cite Perry v. Brown, 671 F.3d 1052
(9th Cir. 2012), for the proposition that a genderless marriage regime will not require any church
to change its policies or practices relative to same-sex couples or to perform weddings for such
couples. Perry is wholly inapposite. The Ninth Circuit opinion simply did not address the
demonstrated adverse impacts for churches such as exclusion from government facilities,
ineligibility for government contracts, and withdrawal of tax exempt status and did not address at

all any adverse impacts on individuals. Further, the court acknowledged the reality of adverse

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impacts on churches when it said that churches should take their plight to legislatures and request
there expanded exemptions from anti-discrimination laws. Id. at 1091. This last aspect of Perry
is important because that case dealt with a balancing of religious liberties against a state-
recognized right to genderless marriage subsequently eliminated by voter initiative. ln contrast,
Nevada has never seen either a state-recognized right30 or a federally recognized right31 to
genderless marriage, and there is clearly no such right now because the presumption in favor of
the constitutionality of the Marriage Amendment continues in f`ull force and effect.32 By
enacting the Marriage Amendment, Nevada’s voters were protecting valued religious liberties
without in any way diminishing the rights of any individuals or groups. So to acknowledge, as
Perry does, the reality of any adverse impacts on religious liberty as a result of the adoption of a
genderless marriage regime is to demonstrate the Coalition’s point_that the Marriage
Amendment rationally serves the legitimate interest in protecting religious liberties.

The plaintiffs’ last effort to counter the rational basis centering on protection of religious
liberties is to quote a law journal article33 that in turn cites In re Marriage Cases, 183 P.3d 384
(Cal. 2008), and Varnum v. Brien, 763 N.W.2d 862 (lowa 2009), for the proposition that a
genderless marriage regime will not prohibit religions from “interpret[ing] their scripture and
tradition to prohibit [same-sex] unions.” lnterpreting scripture is not one of the religious liberties
at stake here. Since government is powerless to constrain the thought processes of people of

faith, the plaintiffs’ assertion that religious liberty is unaffected by the adoption of genderless

 

30 See Memorandum of Points and Authorities in Support of Defendant Glover’s Motion for
Summary Judgment, D.l. 74 at 6, (Showing that since territorial days Nevada has always defined
marriage as the union of a man and a woman.)

1 See, e.g., Baker v. Nelson, 409 U.S. 810 (1972).
32 See, e.g., T own of Lockport, New York v. Citizens for Cmty. Action at Local Level, Inc., 430
U.S. 259, 272-73 (1977); Miller v. Burk, 188 P.3d 1112, 1123 (Nev. 2008).
33 Eric lsaacson, Are Same-Sex Marriages Really a Threat to Religious Liberty?, 8 STAN. J.
C.R. & C.L. 123, 124 (2012).

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marriage so long as people of faith and religious organizations can interpret scripture without
government compulsion is so shriveled a concept of religious liberty as to practically eliminate it
from the American landscape. Moreover, in rejecting the religious-liberties rational basis, the
opinions in Marriage Cases and Varnum build on the false premise that civil marriage and
religious marriage are separate and distinct phenomena in our society. However, the social
science scholarship identifies marriage as one institution, not separate civil and religious
institutions34 Moreover, top scholars on both sides of the marriage issue agree that a genderless
marriage regime will adversely affect religious liberties at multiple points where the law touches
marriage and is applied to individuals and churches.35 Neither the cited law review article nor
any other source attempts to engage, let alone counter, the conclusion reached by those scholars.
H. The DPA does not render the Marriage Amendment unconstitutional.

The plaintiffs are correct in saying that a “govemmental interest must, at a minimum,
‘find some footing in the realities of the subject addressed by the legislation.”’ Plaintiffs’
Opening Brief at 22. (quoting Heller v. Doe, 509 U.S. 312, 321 (1993)). True to that governing
principle, the multiple rational bases sustaining the constitutionality of the Marriage Amendment
find their footing in the realities of the contemporary American social institution of man-woman
marriage. Those social institutional realities are largely uncontroverted Only because the
plaintiffs turn a blind eye towards those realities can they argue that no rational basis sustains the

Marriage Amendment.

 

34 See RICHARD R. CLAYToN, THE FAMILY, MARRIAGF., AND SoclAL CHANGE 19 (2d ed. 1979);
F.C. DeCoste, Courting Leviathan: Limited Government and Social Freedom in Reference Re
Same-Sex Marriage, 42 ALTA. L. REV. 1099, 1102-03 (2005) (available at App2 T59 p1433); see
also JoHN R. SF.ARLF., THE CoNsTRUCTIoN oF SoclAL REALITY 32 (1995) (available at App1 T36

787).
22 See generally Brief of Amicus Curiae, Becket Fund for Religious Liberty, Perry v. Brown,
No. 10-16696, at 1-3 (9th Cir. Sept. 24, 2010) (available at App1 T49 pp1164-66); Fundamental
Premises, supra note 29, at 263-74 and authorities collected there.

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These observations are important in the context of the plaintiffs’ argument that the DPA
somehow operates to render the Marriage Amendment unconstitutional Plaintiffs’ Opening
Brief at 1, 2, 5-6, 26-27. The heart of that argument is that the DPA somehow paints a picture of
contemporary American marriage that coincides with the plaintiffs’ adult-centered concept of
marriage and thereby rejects the common understanding of marriage as a social institution with
duties and relationships that transcend the two adults who enter it. The short answer to this
argument is that the DPA does no such thing. There is nothing about the DPA that denies or
negates that man-woman marriage is a vital social institution; that like all fundamental
institutions, marriage is constituted by widely shared public meanings which form and transform
individuals in profound ways, providing them with identities, statuses, projects, purposes, and
norms; that through this transforlnative process the institutionalized man-woman meaning
materially and even uniquely provides valuable social goods; that genderless marriage is and
must be inimical and hostile to many of those goods; that the law has the power to suppress the
now-institutionalized man-woman meaning; and that when it does so by mandating the “any two
persons” meaning, the valuable social goods provided by the man-woman meaning will be
diminished over time and then lost. The DPA actually reinforces these social realities by
expressly providing that a domestic partnership is not a marriage, Nev. Rev. Stat. § 122A.510.
Indeed, the “not marriage” meaning of the DPA and similar legislative schemes in other states
looms very large in the public understanding, a fact the plaintiffs emphasize_indeed, a fact that
is the primary basis of their equal protection claim. Plaintiffs’ Opening Brief at 12-13.
Accordingly, when the plaintiffs say that the DPA “exposes the absence of any rational

connection between [the Marriage Amendment] and any legitimate governmental interest,”

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Plaintiffs’ Opening Brief at 1-2 (emphasis added), they do so either ignoring or ignorant of the
social institutional realities of marriage and what the DPA does and does not do.

On the other hand, if the plaintiffs are suggesting that, rather than describe present social
institutional realities, the DPA changes those realities by force of law and does so in a way that
deprives the Marriage Amendment of any federal constitutional basis, then they are saying that
the DPA violates Nevada’s constitution. If the DPA is unconstitutional, it is void and can have
no effect, adverse or otherwise, on the Marriage Amendment and that amendment’s
constitutional stature. These conclusions flow inexorably from fundamental law, including the
basic concept that a state legislature cannot by legislation invalidate or defeat a provision of the
state constitution.36 Nevada’s voters put the Marriage Amendment into their constitution to
preclude, among other things, the state legislature from replacing man-woman marriage with a
genderless marriage regime. Consequently, Nevada’s legislature cannot enact any legislation
with the purpose or effect of invalidating or defeating the constitutionally mandated man-woman
meaning, such as by opening the door to a federal-court order mandating the any-two-persons
meaning.37 Yet the plaintiffs may well be arguing that the DPA does just that, apparently
oblivious to the fundamental legal principle that if the DPA is indeed doing that, then it violates

Nevada’s constitution, lf the DPA violates Nevada’s constitution, it is void and of no effect, see,

 

3 6 See, e.g., Gibson v. Mason, 5 Nev. 283, 295 (1869) (state legislation valid only when “not in
conflict with some provision of the Federal or State Constitutions”); King v. Bd. of Regents of
Univ. of Nev., 200 P.2d 221, 225 (1948) (“state constitutions are limitations of the lawmaking
power” and legislation cannot “contravene some expressed or necessarily implied limitation
appearing in the constitution itself”); see also City of Boerne v. Flores, 521 U.S. 507 (1997).

3 See King, 200 P.2d at 226 (“lt is not essential that any given limitation of power be definitely
expressed in the constitution. ‘Every positive direction contains an implication against anything
contrary to it, or which would frustrate or disappoint the purpose of that [constitutional]
provision ”’) (emphasis added). Certainly the legislature cannot do indirectly what it clearly
cannot do directly, narnely, remove the Marriage Amendment from Nevada’s constitution,

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e.g., Clark County v. City of Las Vegas, 550 P.2d 779, 794-95 (1976), and can provide no basis
for the plaintiffs’ DPA argument.38
I. The plaintiffs misuse and misapply Perry.

The plaintiffs repeatedly argue that the decision in Perry somehow “binds” this Court to
hold the Marriage Amendment unconstitutional, but this is clearly wrong. For one thing, Perry
repeatedly and clearly limited the scope of its holding to a situation where same-sex couples
enjoyed a state supreme court granted right to marry that the state’s voters subsequently ended
(by way of Proposition 8). 671 F.3d at 1064, 1076, 1082 n.l4, 1087 n.20. Then in concurring in
denial of rehearing en banc and referring to “the narrow issue that we decided in our opinion,”
the panel majority said: “We held only that under the particular circumstances relating to
California’s Proposition 8, that measure was invalid. . . . [W]e did not resolve the fundamental
question . . . whether the Constitution prohibits the states from banning same-sex marriage.”
Perry v. Brown, 681 F.3d 1065, 1067 (9th Cir. 2012) (Reinhardt, J. and Hawkins, J., concurring
in denial of rehearing en banc). California’s “particular circumstances” are not at all like
Nevada’s where marriage has always been legally defined as the union of a man and a woman.
Because of its own self-described limitations, Perry ’s holding does not apply to Nevada’s
different situation; to suggest otherwise is to say that the Ninth Circuit did not mean what it
expressly stated.

Perry also does not apply to this case for reasons centering on the concepts of

adjudicative facts and legislative facts.39 None of the adjudicative facts found by the Perry trial

 

33 The plaintiffs also fail to come to grips with the fatal defects in their “mere word marriage”
argument, defects that we made clear in the Coalition’s Opening Brief at 28-29.

39 See Perry, 671 F.3d at 1075 (adjudicative facts “are capable of being ‘found’ by a court
through the clash of proofs presented in adjudication, as opposed to ‘legislative facts,’ which are
generally not capable of being found in that fashion. ‘Adjudicative facts are facts about the

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court and accepted by the circuit panel are even relevant here. (They are peculiar to the parties
and to the unique legal landscape in that case.) More importantly, those findings are not binding
on this Court. Although generally applicable legal principles announced by the Ninth Circuit
bind this Court, see, e.g., Hart v. Massanari, 266 F.3d 1155, 1170-72 (9th Cir. 2001), findings of
adjudicative facts based on the record in a particular case do not bind either this Court or any
present party who was not a party (or in privity with a party) in that earlier case, See, e.g., Robi
v. Five Platters, Inc., 838 F.2d 318, 328 (9th Cir. 1988).

The circuit panel in Perry expressly declined to rely on any legislative facts “found” by
the trial court except one not contested there. 671 F.3d at 1075. More importantly, the circuit
panel majority opinion did not address the social institutional realities presented by the Coalition
here, which compel a holding of constitutionality Thus, Perry simply cannot be said to have
done anything regarding those realities, whether by way of finding, holding, or otherwise.
Because Perry engaged in no judicial action regarding those vital social realities, Perry provides
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no basis for denying or even just ignoring them.4

In short, Perry does nothing to undermine the Marriage Amendment’s constitutionality

 

parties and their activities . . . usually answering the questions of who did what, where, when,
how, why, with what motive or intent’ . . . . ‘Legislative facts,’ by contrast, ‘do not usually
concern [only] the immediate parties but are general facts which help the tribunal decide
questions of law, policy, and discretion.”’) (quoting Marshall v. Sawyer, 365 F.2d 105, 111 (9th
Cir. 1966)).

0 See, e.g., In re Payroll Exp. Corp., 921 F.Supp. 1121, 1123 (S.D.N.Y. 1996) (“When an issue
was not raised in the circuit court, a district court is not bound by the resulting decision.”).
Indeed, even when a higher court does address and rule on legislative facts, the ruling may not be
binding on lower courts. See generally A Woman ’s Choice-E. Side Women ’s Clinic v. Newman,
305 F.3d 684, 688-89 (7th Cir. 2002).

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J. The plaintiffs wrongly argue that supporters of the Marriage Amendment acted only
out of animus.

As predicted, the plaintiffs now accuse the Coalition of animus. See Plaintiffs’ Opening
Brief at 5, 12. However, the plaintiffs’ own evidence of that supposed animus defeats the
charge. The plaintiffs point to two Coalition ads as constituting “false, stigmatizing messages
that same-sex couples are inferior . . . and that both the institution of marriage and children need
to be protected from same-sex couples.” Id. at 5. The first ad said: “Let’s not experiment with
Nevada’s children.” Id. The second ad said that in a genderless marriage regime parents “would
be unable to stop the proliferation of teaching that promotes homosexuality in our schools.” Id.
As to the first ad, genderless marriage is without any question an experiment,41 Indeed, a recent
op-ed piece in The New York Times acknowledged: “Same-sex marriage is a social experiment,
and like most experiments it will take time to understand its consequences.”42 Because marriage
as an institution has always been much intertwined with the interests and needs of children, to
experiment with that institution is indeed to “experiment with Nevada’s children.” As to the
second ad, a genderless marriage regime will without any question promote homosexuality in our
schools and everywhere else touched by the law’s coercive and pedagogical powers; that
promotion will entail deconstructing heteronormativity and also teaching the “evil” of any

expression of disagreement with homosexuality.43 To inform the public on such an important

 

41 See, e.g., Katherine K. Young & Paul Nathanson, T he Future of an Experiment, in

DIVORCING MARRlAGE 41 (Daniel Cere & Douglas Farrow eds., 2004) (genderless marriage
proponents “want to indulge in a massive experiment, leaving future generations to pick up
the pieces.”).

42 Ross Douthat, Gay Parents and the Marriage Debate, THE NEW YORK TIMES, lune 11, 2012
(available at App2 T56 p1343).

43 App. T46 pp1080-81 (“Where the law [chooses genderless marriage], it has the effect of
inducing social acceptance of homosexuality as normal and legally establishing a liberal
conception of moral equality.”)

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issue is the opposite of sending “false, stigmatizing messages” and is not evidence of any
impermissible animus. Instead, it is the hallmark of rationality and good citizenship.
III. CONCLUSION

The core, tripartite message of the genderless marriage project in general and this case’s
plaintiffs in particular is that men and women are interchangeable, that a child does not need or
benefit from having both her mother and her father, and that those who believe otherwise are
bigots. As demonstrated, under settled equal protection jurisdiction this message utterly fails to
invalidate the Marriage Amendment. This Court should enter final judgment against the
plaintiffs on all their claims.

Date: October 25, 2012

 

Monte Neil Stewart (Nevada Bar No. 14 9)

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CERTIFICATE OF SERVICE
l hereby certify that on October 25, 2012, the foregoing document was filed with the
Clerk of the Court for the United States Court, District of Nevada by using the CM/ECF system.
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